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                         IN THE UNITED STATES DISTRICT COURT
                         FOR the: eastern district of VIRGINIA
                                        Alexandria Division


 UNITED S i A'l liS 01' AMERICA,et ai.

                        Plaintiffs,

                                                      Civil Aetion No. 1:23cv0I08(LMB/JFA)

 GOOGLE LLC.


                        Defendant.



                                              ORDER


         On July 9, 2025, defendant filed a motion to file under seal an unredaeted version of its

 supplemental memorandum in opposition to plaintiffs' request for settlement materials provided

 to the F>uropean Commission. (Docket no. 1541). Defendant has filed in the public record a

 version of the memorandum in which certain information on pages 3, 4, and 6 has been redacted.

(Docket no. 1539). In the memorandum in support of the motion to seal defendant states that it

 seeks to keep those selected portions of the memorandum under seal to protect confidential

 settlement negotiations. No person or entity has filed a response or objection to this motion to

 seal.


         fhis motion to seal concerns materials submitted to the court for review on a motion to

 compel and therefore any information to be filed under seal must satisfy the "common law"

 standard discussed in Va. Dep 7 ofState Police v. Wash. Post, 386 F.3d 567, 575 (4th Cir. 2004).

 While the information that defendant has redacted in the public version of its memorandum does

 not contain any substantive information concerning the details of any settlement negotiation, it

 does relate to settlement discussions. For the purposes of this motion, the court will allow that

 information to remain under seal at this time. For these reasons, it is hereby


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       ORDHRliD that ihc motion to seal is granted and the unredacted version of the

memorandum may remain under seal.

       l-inlcrcd this 18th day of July, 2025.
                                                                hi.
                                                  John F. Anderson


Alexandria, Virginia                              United States Magistrate Judge
